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AMENDED Notice of Incomplete Filing or Filing of Outdated Forms and Notice of Intent to Dismiss Case if Documents Are Not Timely Filed
(v.2.16)

                                                  UNITED STATES BANKRUPTCY COURT
                                                       Eastern District of California
      AMENDED NOTICE OF INCOMPLETE FILING OR FILING OF OUTDATED FORMS AND
       NOTICE OF INTENT TO DISMISS CASE IF DOCUMENTS ARE NOT TIMELY FILED
 In re
                                                                                                                                                  Case Number
            Stanford Chopping Inc.
                                                                                                                                         22−10472 − B − 11
                                                                                                      Debtor(s).

The petition filed on 3/24/22 by the above−named debtor and, if a joint case, the above−named joint debtor was not accompanied by all
required documents.
NOTICE IS HEREBY GIVEN that the following documents are missing and must be filed, or one of the other options described below must
be taken, by the date(s) indicated (if two dates are shown, two separate deadlines are established for each of the options described below;
each date must be timely satisfied as to the documents governed by that date).

    The following document(s) must be received by the bankruptcy clerk's office by 03/31/2022:
        Verification and Master Address List
NOTE: Missing documents WILL NOT DELAY the sending of notices by the court. If "Verification and Master Address List" is listed above, the notice of meeting of
creditors will be sent by the court to the debtor(s), the attorney for the debtor(s), if any, and the trustee ONLY. Thereafter, it will be the attorney for the debtor(s)'s, or the
pro se debtor's responsibility to serve notice of the meeting of creditors that includes the debtor's and, if applicable, the joint debtor's FULL social security number(s) on
all creditors, and to file with the court a proof of service indicating that service has been made, together with a REDACTED version of the notice, showing only the last
four digits of the social security number(s).

If "Statement of SSN" is listed above, the attorney for the debtor(s) or the pro se debtor must provide notice of the debtor's and, if applicable, the joint debtor's FULL
social security number(s) to the trustee and all creditors. A proof of service, indicating that service has been made, together with a REDACTED version of the notice,
showing only the last four digits of the social security number(s), must be filed with the court.


   The following document(s) must be received by the bankruptcy clerk's office by 4/7/22. In addition, the Voluntary Petition, if
submitted on Form B1, is outdated and must be resubmitted on Form 101 (Individual Debtors) or Form 201 (Non−Individual
Debtors.) ALL DOCUMENTS LISTED BELOW MUST BE SUBMITTED ON OFFICIAL FORMS REQUIRED AS OF DECEMBER 1, 2015.
     List − 20 Largest Unsecured Creditors
     List − Equity Security Holders
     Schedule A/B − Real and Personal Property
     Schedule D − Secured Creditors
     Schedule E/F − Unsecured Claims
     Schedule G − Executory Contracts
     Schedule H − Codebtors
     Statement Re: Corporate Debtor
     Statement of Financial Affairs
     Summary of Assets and Liabilities




The items listed in this notice are not necessarily all of the items that remain to be filed (see, for example 11 U.S.C. sec. 1116(1)).

If outdated petition, schedules, or statements were submitted at the time this case was filed, failure to submit revised documents as noted above will result
in this case being dismissed. Additionally, the Clerk's Office will not compare the revised forms to determine whether any information has been changed. To
make changes to the petition, schedules, statements, or master address list, these items should be marked "AMENDED," and submitted with the appropriate
fee and amendment cover sheet (Form EDC 2−015).

For additional information concerning required documents see page 3.

NOTICE IS FURTHER GIVEN that the Court, without further notice, may dismiss this case unless the debtor does one of the following on or
before the date specified above (if two dates are shown, the debtor must do the following on or before the earlier of the two dates):
1.    Files all missing documents with the Clerk, U.S. Bankruptcy Court, by mail or in person at the address shown below; OR
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2.     Files a motion for an extension of time to file the missing documents with the Clerk, U.S. Bankruptcy Court, by mail or in person
       at the address shown below. Pursuant to Federal Rule of Bankruptcy Procedure 9006(b)(1), motions for extensions of time must be
       filed prior to the expiration of the prescribed periods. Extensions of time to file schedules, statements, and other documents may be
       granted only on motion for cause shown and on notice to committees, the United States Trustee, trustee, examiner, and others as
       directed by the Court. See Fed. R. Bankr. P. 1007(c); OR
3.     Files a Notice of Hearing on the Court's Notice of Intent to Dismiss Case supported by a statement of the issue and evidence
       with the Clerk, U.S. Bankruptcy Court by mail or in person at the address shown below, setting the hearing on 05/10/2022 at 09:30
       AM at the U.S. Bankruptcy Court in Courtroom 13, 5th Floor , 2500 Tulare Street , Fresno, CA. The Notice of Hearing and
       statement of the issue and evidence shall be served on the trustee, trustee's attorney, if any, all creditors, and other parties in interest.
       Proof of service, in the form of a certificate of service, shall be filed with the Clerk concurrently with the Notice of Hearing and
       statement of the issue and evidence, or not more than three (3) days thereafter.
NOTICE IS FURTHER GIVEN that on or before the date specified above, the trustee, a creditor, or other party in interest may file a Notice of
Hearing on the Court's Notice of Intent to Dismiss Case to show cause why this case should not be dismissed with the Clerk, U.S.
Bankruptcy Court, by mail or in person at the address shown below. The Notice of Hearing shall set the hearing for the same date, time, and
location as indicated in option 3 above, and shall be supported by a statement of the issue and evidence. The Notice of Hearing and
statement of the issue and evidence shall be served on the debtor, debtor's attorney, if any, the trustee, trustee's attorney, if any, all
creditors, and other parties in interest. Proof of service, in the form of a certificate of service, shall be filed with the Clerk concurrently with the
Notice of Hearing and statement of the issue and evidence, or not more than three (3) days thereafter.
If no Notice of Hearing on the Court's Notice of Intent to Dismiss Case Is filed, no hearing will be calendared. THEREFORE, YOU SHOULD
NOT APPEAR AT THE DATE AND TIME INDICATED ABOVE UNLESS YOU FILED A NOTICE OF HEARING, OR UNLESS YOU ARE
SERVED WITH A NOTICE OF HEARING FILED BY ANOTHER PARTY.
THIS IS THE ONLY NOTICE YOU WILL RECEIVE. Failure to timely file the missing documents, to timely seek an extension of time,
or to timely file a Notice of Hearing on the Court's Notice of Intent to Dismiss Case may result in the automatic dismissal of this
bankruptcy case without further notice. If you have already complied with the above requirement(s), please disregard this notice.

Dated: 3/24/22                                                             Wayne Blackwelder Clerk,
                                                                           BY: vcaf , Deputy Clerk
                                                                           U.S. Bankruptcy Court
                                                                           Robert E. Coyle United States Courthouse
                                                                           2500 Tulare Street, Suite 2501
                                                                           Fresno, CA 93721−1318
                                                                           (559) 499−5800




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                                  ADDITIONAL INFORMATION CONCERNING REQUIRED DOCUMENTS


Attorney's Disclosure Statement (Form 2030): Any attorney representing a debtor shall file with the court a statement of the compensation
paid, or agreed to be paid, if such payment or agreement was made after one year before the date of the filing of the petition, for services
rendered or to be rendered, in contemplation of or in connection with the debtor's bankruptcy case, and the source of the compensation. 11
U.S.C. sect; 329 or and FRBP 2016(b).
Chapter 12 Plan: Chapter 12 debtor's shall file a plan. 11 U.S.C. § 1221 and FRBP 3015(a).
Chapter 13 Plan (Form EDC 3−080): Chapter 13 debtors shall file a plan using the standard form Chapter 13 Plan (EDC Form 3−080)
prescribed by General Order 05−03.
Chapter 15 List per BR 1007: A list containing the name and address of all administrators in foreign proceedings of the debtor, all parties to
any litigation in which the debtor is a party and that is pending in the United States at the time of the filing of the petition, and all entities
against whom provisional relief may be sought under 11 U.S.C. § 1519 shall be filed by the foreign representative with a petition for
recognition under chapter 15. FRBP 1007(a)(4).
Chapter 11 or Chapter 9: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204): A
list containing the names, addresses and claim amounts of the debtor's 20 largest unsecured creditors, excluding insiders, prepared as
prescribed by Official Form 204.
List − Equity Security Holders: A List of Equity Security Holders shall be filed in chapter 11 cases. FRBP 1007(a)(3).
Verification and Master Address List: With every petition for relief under the Bankruptcy Code presented for filing, there shall be submitted
concurrently a Master Address List which includes the name, address, and zip code of all of the debtor's known creditors. To accommodate
modern technology, the Master Address List shall be prepared in strict compliance with instructions of the Clerk in a format approved by the
Court. Local Bankruptcy Rule 1007−1(b). Instructions concerning the preparation of Master Address Lists are set forth in forms EDC 2−190
and EDC 2−195. Debtors represented by legal counsel, or whose petitions are prepared by a bankruptcy petition preparer, must submit an
electronic Master Address List. All other debtors must submit either an electronic Master Address List or a hard copy Master Address List
printed on paper. The debtor shall concurrently submit a Verification of Master Address List, form EDC 2−100, with every Master Address
List presented for filing.
Statement of Current Monthly Income (Official forms 122A, 122B, and 122C): A statement of current monthly income, prepared as
prescribed by the appropriate Official Form, shall be filed with the petition or within 14 days, by individual chapter 7 debtors with primarily
consumer debts (Official Form(s) 122A−1 [and 122A−1 Supp and 122A−2, if required]), individual chapter 11 debtors (Official Form 122B),
and chapter 13 debtors (Official Form(s) 122C−1 [and 122C−2, if required]).
Schedule A/B − Property (Official Form 206A/B), Schedule C − The Property you Claim as Exempt (Official Form 206C), Schedule D
− Creditors Who Have Claims Secured By Property (Official Form 206D), Schedule E/F − Creditors Who Have Unsecured Claims
(Official Form 206E/F), Schedule G − Executory Contracts and unexpired Leases (Official Form 206G), Schedule H − Your
Codebtors (Official Form 206H), Schedule I − Your Income (Official Form 206I), and Schedule J − Your Expenses (Official Form
206J), Summary of Your Assets and Liabilities and Certain Statistical Information (Official Form 206Sum): Except in a chapter 9
municipality case, schedules of assets and liabilities, executory contracts and unexpired leases, current income, and current expenditures,
prepared as prescribed by Official Form 6, shall be filed by the debtor. 1 U.S.C. § 521(a)(1)(B) and FRBP 1007(b)(1). Creditors shall be listed
on the appropriate schedule in alphabetical order by name and complete address. LBR 1007−1(a).
Statement of Financial Affairs (Official Form 207): Except in a case under chapter 9, the debtor shall file a Statement of Financial Affairs,
prepared as prescribed by Official Form 7. 11 U.S.C. § 521(a)(1)(B) and FRBP 1007(b)(1).
Statement of SSN (Official Form 121): Individual debtors must file a statement under penalty of perjury setting out the debtor's full social
security number or stating that the debtor does not have a social security number, prepared in substantial compliance with Official Form 121.
11 U.S.C. § 521(a)(1) FRBP 1007(f).
Certificate of Completion of Credit Counseling Briefing: Federal Rule of Bankruptcy Procedure 1007 (b) (3) and (c) require that
individual debtors file with the petition a certificate of completion of credit counseling or an indication that they are not required to do so.
Statement Re: Corporate Debtor (Form EDC 3−500): Federal Rule of Bankruptcy Procedure 1007(a)(1) requires corporate debtors to file
with the petition a corporate ownership statement containing the information described in FRBP 7007.1.
Voluntary Petition: Form 101 must be used for Individuals, and Form 201 must be used for Non−Individuals for cases commenced on or
after December 1, 2015.
